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EXHIBIT 1
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UNITED STATES DISTRICT COURT

 

DISTRICT OF CONNECTICUT

a KX
DONGGUK UNIVERSITY, : No. 3:08-CV-00441 (TLM)

Plaintiff ;

¥.

YALE UNIVERSITY,

Defendant. : APRIL 30, 2010
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AFFIDAVIT OF HOWARD FETNER
STATE OF CONNECTICUT )
) Ss: New Haven

COUNTY OF NEW HAVEN ) |

Howard Fetner, having been duly sworn, deposes and states as follows:

1, I am over the age of 18 and believe in the obligation of an oath,

2. I am an associate with the law firm of Day Pitney LLP, which is counsel to
Defendant Yale University in the above-captioned matter.

3. In the above-captioned case, Plaintiff Dongguk University has produced 381,340
pages of documents, and it has designated 379,186 (99.4%) of them “Confidential” under the

“4

Protective Order. aD a a -
/ f ° / a = ry

LY Howard Fetner

 

om to and subscribed before me
this 30th day of April, 2010

Notaxy Public CHERYL EDELMANN
Y PUBLIC

My commission expires MY COMMISSION EXPIRES JAN, 21, 2015

 
